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           16
                                   UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                   MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
           19      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,              APPLE INC.’S SUPPLEMENTAL
           20      a Delaware corporation,                   MARKMAN BRIEF ON
                                                             INDEFINITENESS
           21                         Plaintiffs,
           22            v.                                 Judge:     Judge James V. Selna
                                                            Hearing:   None set
           23      APPLE INC.,
                   a California corporation,
           24
                                      Defendant.
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             1           In its Tentative Markman Order, the Court found that the claims of the ’703 patent
             2     use the term “higher power consumption level” (as compared to a “lower power
             3     consumption level”) in three very different ways—such that the claims: (1) “may be
             4     read to require that reduced activation / processing occur during operation at a higher
             5     power consumption level,” (2) “could also be read to require that reduced activation /
             6     processing occur during operation at a lower power consumption level,” and (3) even
             7     could be read to require reducing activation of the attached sensor “regardless of power
             8     level” because “it is not clear whether the final [reducing activation or reducing
             9     processing] limitation pertains to lower power consumption or higher power
           10      consumption levels.” Tentative Order at 12. At the Markman hearing, Masimo’s
           11      counsel agreed that “the Court [is] correct in saying that the language can be given
           12      [those] three interpretations.” Ex. 12 [7/22/24 Hr’g Tr.] at 19:4-7.
           13            In view of the Tentative’s finding, Masimo’s agreement with it, and the named
           14      inventor’s recent deposition testimony (discussed below), all claims reciting the
           15      requirement of a “higher power consumption level” should be found indefinite for three
           16      independent reasons.
           17            First, the fact that Masimo agrees that “higher power consumption level” has
           18      three materially different meanings—yet it is unclear which of those three meanings a
           19      skilled artisan would apply—alone compels a finding of indefiniteness. The Supreme
           20      Court has made clear that “a patent must be precise enough to afford clear notice of what
           21      is claimed, thereby ‘appris[ing] the public of what is still open to them.’” Nautilus, Inc.
           22      v. Biosig Instruments, Inc., 572 U.S. 898, 909 (2014). Thus, it cannot be the case that a
           23      term that admittedly has three distinct potential meanings provides “reasonable
           24      certainty” about what has been claimed.         Indeed, the Federal Circuit has found
           25      indefiniteness under a nearly identical scenario where a term had three potential
           26      meanings, but no way for a person of ordinary skill to ascertain with reasonable certainty
           27      which one applied. See Teva Pharms. USA, Inc. v. Sandoz, Inc., 789 F.3d 1335, 1343-
           28      45 (Fed. Cir. 2015) (finding term “molecular weight” indefinite because it could be

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             1     understood to mean three different things (“number average molecular weight, weight
             2     average molecular weight, average molecular weight as determined by light scattering”),
             3     but a skilled artisan “would still not be reasonably certain” which meaning to apply); see
             4     also Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 2014 WL 4352489, at *5 (E.D.
             5     Tex. Sept. 2, 2014) (Bryson, J.) (finding indefiniteness because “the Court is left to guess
             6     at the meaning” of the term at issue).
             7           At the hearing, when asked by the Court how a skilled artisan could discern which
             8     of the three different meanings to apply to a particular claim, counsel for Masimo said
             9     it “depends on the context” and referred the Court to paragraph 72 of Dr. Madisetti’s
           10      declaration. Ex. 12 [7/22/24 Hr’g Tr.] at 19:8-20:15. But that paragraph says nothing
           11      about how a skilled artisan would know which of the three interpretations apply. It
           12      instead states only that a skilled artisan would understand the “wherein” clause of claims
           13      15 and 20 to “encompass the processor activities as a whole”:
           14            Claim 20 is similar to Claim 15, except that clause [C] recites “wherein
                         said processors reduce an amount of processing by a signal processor.”
           15            See ’703 Patent at 13:22-14:3. As in Claim 15, clause [C] of Claim 20
                         modifies both clauses [A] and [B], in addition to modifying the words
           16            “high power consumption level.” A POSA, in view of the claim
                         language of Claims 15 and 20, would understand that that the wherein
           17            clause of Claims 15 and 20 encompass the processor activities as a whole.
           18      Dkt. 1948-1 [Madisetti Decl.] ¶ 72. In other words, and as Masimo’s counsel later
           19      conceded, the paragraph merely contends that the term has “the multiple readings that
           20      [the Court] ha[s] identified.” Ex. 12 [7/22/24 Hr’g Tr.] at 20:2-8. Nothing there, nor
           21      anywhere else in Dr. Madisetti’s declaration, provides any insight as to how a skilled
           22      artisan would allegedly know which definition applies in the context of claims 15 and
           23      20, or any other claim. That is because, as Apple’s expert Dr. Sarrafzadeh explained, “a
           24      skilled artisan would not know with reasonable certainty when a device that has reduced
           25      activation of the sensor … is operating at a ‘higher power consumption level’ or when
           26      it is not.” Dkt. 1974-1 [Sarrafzadeh Decl.] ¶ 10. That lack of clarity presents a classic
           27      case of indefiniteness.
           28            Second, a claim is indefinite when it contains a term that covers a “nonsensical”
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             1     result. E.g., WSOU Invs. LLC v. Google LLC, 2023 WL 6210607, at *7 (Fed. Cir. Sept.
             2     25, 2023) (non-precedential) (“One circumstance in which claims are indefinite is where
             3     the claims, as properly construed, are nonsensical.”); Tech. Innovations, LLC v.
             4     Amazon.com, Inc., 35 F. Supp. 3d 613, 620-21 (D. Del. 2014) (claim indefinite where it
             5     recited “a physical impossibility”). For instance, in Synchronoss Technologies, Inc. v.
             6     Dropbox, Inc., 987 F.3d 1358 (Fed. Cir. 2021), the patentee’s “corporate designee
             7     testified the claims would ‘not make sense’” based on the requirements of the claim
             8     language. Id. at 1366. The Federal Circuit therefore found the asserted claims indefinite
             9     because they “are nonsensical and require an impossibility,” and thus “do not set forth
           10      what the inventor regards as his invention.” Id. at 1366-67.
           11            That is precisely the situation here. Apple recently deposed Masimo’s Chief of
           12      Engineering, Innovation, and Design and Fellow Scientist, Ammar Al-Ali—who is the
           13      sole named inventor of the ’703 patent and was Masimo’s 30(b)(6) designee on the
           14      subject of “[t]he Asserted Patents, including the subject matter claimed and disclosed
           15      therein.” Ex. 13 [Apple’s 30(b)(6) Notice] at 9; Ex. 14 [7/12/24 Al-Ali Dep.] at 9:2-9,
           16      10:15-12:25, 15:19-17:7. At his deposition, Mr. Al-Ali confirmed that he did not invent
           17      a way to increase power consumption by reducing activation of the sensor and did not
           18      disclose any such embodiments in the ’703 patent. In fact, Mr. Al-Ali explained that he
           19      was unaware of any way to accomplish that result, which would be “almost
           20      paradoxical”:
           21             Q.       Reducing activation of the sensor would not increase power consumption,
                                   right? …
           22
                          A.       Should not.
           23             Q.       And the patent does not describe any embodiments where reducing
                                   activation of the sensor increases power consumption, correct?
           24
                          A.       I mean, the technology is about reducing the power, not increasing the
           25                      power.
                          Q.       So there are no embodiments where reducing activation of the sensor will
           26                      increase power consumption, correct?
           27             A.       Yeah, I don’t see how that can happen. …
                          Q.       That’s not something that you invented, right?
           28
                          A.       No. That would be actually generating energy.
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             1             Q.     So that would be almost paradoxical, right?
             2             A.     Yeah.

             3     Id. at 75:9-76:10 (objections omitted); id. at 72:6-75:8 (objections omitted) (agreeing
             4     that “if you reduce activation of the sensor, you will reduce the power consumed by the
             5     monitor”). 1 Thus, as in Synchronoss, WSOU, and Tech. Innovations, the “higher power
             6     consumption level” terms should be found indefinite due to the nonsensical and
             7     physically impossible manner in which they are used in the claims. 2
             8           Mr. Al-Ali’s sworn testimony—that he did not invent a way to reduce activation
             9     of a sensor/processor while increasing power consumption, and that the specification
           10      discloses no example to that effect—also conclusively debunks Dr. Madisetti’s
           11      unsupported conjecture that the specification supposedly discloses how “the claimed
           12      device can still be in a ‘higher power consumption level,’ even if the control engine
           13      reduced activation of an attached sensor, [sic] (claim 15) or amount of processing (claim
           14      20).” Dkt. 1948-1 ¶¶ 73-75. If Mr. Al-Ali, as the sole inventor (and Masimo’s corporate
           15      designee regarding “the subject matter claimed”) says the invention did not include
           16      reducing activation of a sensor/processing while increasing power consumption, Dr.
           17      Madisetti’s unsupported conclusory assertion to the contrary is simply not credible. 3
           18            Third, even beyond Masimo’s hearing admission and Dr. Al-Ali’s deposition
           19      testimony, the claims are indefinite because the three potential meanings for “higher
           20      power consumption level” are inconsistent across different claims. For example, the
           21      Tentative found and Masimo agrees that (1) “[c]laims 15 and 20 may be read to require
           22      that reduced activation / processing occur during operation at a higher power
           23      1
                     All bold/italics emphasis in this brief is added.
                   2
                     Masimo’s assertion that Mr. Al-Ali’s testimony did not address the “specific claim
           24      language,” Ex. 12 [7/22/24 Hr’g Tr.] at 18:7-10, is meritless. As Masimo’s counsel
                   subsequently admitted, Mr. Al-Ali’s testimony described “the invention as a whole,”
           25      id., and the cited testimony echoed the language of the claims, Ex. 14 [7/12/24 Al-Ali
                   Dep.] at 71:4-76:10 (discussing Figures 4 and 5 and agreeing “reduc[ing] activation of
           26      the  sensor … will reduce the power consumed”).
                   3
                     Contrary to Masimo’s suggestion, Ex. 12 [7/22/24 Hr’g Tr.] at 17:13-20, Mr. Al-Ali’s
           27      testimony indicates the ’703 patent contemplates combining “low duty cycle” with
                   “reduced overlap” to reduce power consumption (though unclaimed), see ’703 patent at
           28      11:17-24, and not the nonsensical combination of low duty cycle with increased
                   processing for net higher power consumption.
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             1     consumption level,” while (2) “[c]laims 1 and 9 require reduced activation/processing
             2     during operation at a lower power consumption level,” and, thus, the “higher power
             3     consumption level” in claims 1 and 9 comprises increased activation/processing
             4     relative to the “lower power consumption level.” Tentative Order at 12; see Dkt. 1952
             5     [Apple Opening Br.] at 9-10; Dkt. 1974 [Apple Resp. Br.] at 10-13; Dkt. 1952-2
             6     [Sarrafzadeh Decl.] ¶¶ 34-37. Masimo’s decision to draft the claims in this manner—
             7     using the term “higher power consumption level” in “irreconcilably inconsistent”
             8     ways—separately renders the claims indefinite.          See TVnGO Ltd. (BVI) v. LG
             9     Electronics Inc., 861 F. App’x 453, 459-60 (Fed. Cir. 2021) (non-precedential); Allen
           10      Eng’g Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1349 (Fed. Cir. 2002) (holding claims
           11      indefinite where patent described claimed structure “in contrary terms”); Dkt. 1952
           12      [Apple Opening Br.] at 9-10; Dkt. 1974 [Apple Resp. Br.] at 10-13.
           13            Masimo contends that even if claims 15 and 20 are found indefinite, claims 1-11
           14      should survive. Dkt. 1972-1 [Masimo Resp. Br.] at 14-15. But Masimo cites no case
           15      where the patentee was allowed to use a term inconsistently across claims, and then pick
           16      some inconsistent claims to save, and others to sacrifice. To the contrary, TVnGo rejects
           17      such a maneuver, explaining: “dismissing [certain] claims as invalid, as [the patentee]
           18      proposes, ignores that [those claims] are one of the few sources of intrinsic evidence on
           19      the meaning of” the claim term, and “[a]rguing that they are invalid does not change
           20      that.” 861 F. App’x at 460. That result also accords with the general practice of
           21      invalidating all claims in which an indefinite term appears. E.g., Synchronoss, 987 F.3d
           22      at 1367-68 (“Because the term … fails in this regard, we hold that the term is indefinite
           23      and, thus, the asserted claims … are invalid[,] [a]s the term appears in all asserted claims
           24      ….”). As a result, if the Court finds that certain claims are indefinite based on the
           25      inconsistent meaning that the claims attribute to a “higher power consumption level,”
           26      all claims reciting a “higher power consumption level” should be found indefinite.
           27            For the foregoing reasons, Apple respectfully requests that the Court hold that, as
           28      used in the ’703 patent claims, the term “higher power consumption level” is indefinite.

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             2     Dated: July 26, 2024                 Respectfully submitted,

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